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United States Attorney

Western District of New York

100 State Street Suite 500

Rochester, NY 14614. Re: 21-CV-6323

To whom it may Concern, my name is Cristal Starling. | reside at 466 “2 West Main Street Apt.
401 Rochester, NY 14608. | am writing in regards to currency in the amount of $8040 that was
confiscated from me at my home on October 29, 2020 by the Rochester Police Department
during the execution of a search warrant. | understand that this money has since been in the
custody of The Western District of New York. | am writing to notify the courts that the defendant
of the case stemming from the warrant execution, Kendrick Bronson, was recently acquitted of
all charges. | have been advised to contact this office to have a motion filed on the docket to
have my money be released and returned to me. | have referenced the case number related to
these funds above.

Please feel free to contact me | at any time to discuss this matter further at 585-709-2236. | can
also be reach by email at;

dodat1881@gmail.com

Thank you
Cristal Starling
